                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION



  UNITED STATES OF AMERICA, ex rel.,
  Daniel H. Hayes, M.D.,

                 Plaintiff,

  v.                                                     Case No.: 3:16-cv-00750-GCM

  THE CHARLOTTE-MECKLENBURG                                DEFENDANT’S
  HOSPITAL AUTHORITY, d/b/a and                   MOTION FOR SUMMARY JUDGMENT
  n/k/a ATRIUM HEALTH, a North
  Carolina Public Hospital Authority,

                 Defendant.

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Defendant The Charlotte-

Mecklenburg Hospital Authority, d/b/a and n/k/a Atrium Health (“Atrium”) hereby moves the

Court for summary judgment on the grounds that there no genuine issue as to any material fact

and Atrium is entitled to judgment as a matter of law on Plaintiff Daniel H. Hayes, M.D.’s (“Dr.

Hayes’s) claim for Retaliation under the False Claims Act, 31 U.S.C. § 3730(h). In support of its

Motion for Summary Judgment, Atrium shows the Court as follows:

       1.      Dr. Hayes is a former surgeon and the former Director of Transplantation at

Atrium who was terminated on October 28, 2013 after an internal investigation into leadership

concerns, a lack of presence and availability, excessive vacation, and improper timekeeping.

       2.      Approximately two years after he was terminated, Dr. Hayes reported what he

claims to believe were potential False Claims Act violations to the U.S. government (for the first

time). The U.S. government ultimately declined to prosecute such claims. In this lawsuit, Dr.

Hayes’s claims that Atrium’s stated and valid reasons for terminating him were in fact pre-




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textual, and that the actual reason for his termination was retaliation for having raised these

complaints internally at Atrium during his tenure.

       3.      To establish a claim for Retaliation under the False Claims Act, Dr. Hayes “must

establish [that] (1) [he] engaged in a protected activity; (2) [Atrium] knew about the protected

activity; and (3) [Atrium] took adverse action against [him] as a result.” See Skibo v. Greer

Laboratories, Inc., No. 19-2042, 2021 WL 72124, at *6 (4th Cir. Jan. 8, 2021) (quoting U.S. ex

rel. Grant v. United Airlines, Inc., 912 F.3d 190, 200 (4th Cir. 2018)). Atrium is entitled to

judgment as a matter of law because Dr. Hayes has failed to come forward with evidence to

support any one of these three prongs.

       4.      First, Dr. Hayes has failed to come forward with any evidence the concerns he

allegedly raised were based on an “objectively reasonable belief that [Atrium] [was] violating or

soon [would] violate the [False Claims Act]” or that his alleged concerns had any “nexus to a[]

[False Claims Act] violation” as required by well-established law. See Grant v. United Airlines,

Inc., 912 F.3d 190, 201 (4th Cir. 2018); See Patt v. Greer Laboratories, Inc., Civ. Action No.

5:13-CV-00110-KDB-DSC, 2019 WL 3987762, at *10 (W.D.N.C. Aug. 22, 2019).

       5.      Second, Dr. Hayes has failed to come forward that any of the relevant

decisionmakers at Atrium who were involved in his termination knew about Dr. Hayes’s

concerns, and, as a result, he cannot establish that Atrium knew about the alleged protected

activity. See Halasa v. ITT Educ. Servs., Inc., 690 F.3d 844, 848 (7th Cir. 2012).

       6.      Third, Dr. Hayes has failed to come forward with any evidence to support a

finding that Atrium terminated him as a result of the concerns he allegedly raised. As a result,

Dr. Hayes cannot establish that his alleged “protected activity” was the but-for cause of his




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termination as required under 4th Circuit law. United States ex rel. Cody v. ManTech Int’l,

Corp., 746 F. App’x 166, 177 (4th Cir. 2018).

       7.      As explained more fully in its Brief in Support of Motion for Summary, which is

being filed contemporaneously with this Motion as required by Local Rule 7.1(c), Dr. Hayes’s

claim for Retaliation is based on nothing more than his own self-serving and uncorroborated

opinion, concocted after the fact, as to the reason for his termination. As a matter of law, the

False Claims Act requires more.

       WHEREFORE, Atrium respectfully request that the Court grant its Motion for Summary

Judgment and enter judgment in its favor.

       This the 15th day of March, 2021.


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                             CERTIFICATE OF SERVICE
      I hereby certify that on March 15, 2021, the foregoing DEFENDANT’S MOTION FOR
SUMMARY JUDGMENT was served electronically by filing it with the Court’s ECF system,
which will send e-mail notification to the following counsel of record:

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      This the 15th day of March, 2021.

                                              /s/ C. Bailey King, Jr.
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